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DISTRICT COURTS FOR THE Email: jsdinesandenglish@verizon.net
SOUTHERN AND EASTERN DISTRICTS OF OF COUNSEL
NEW YORK, CONNECTICUT, ALSO ADMITTED IN NEW YORK

AND THE NORTHERN DISTRICT OF ILLINOIS

Honorable Frederic Block, U.S.D.J.

United States District Court for the New York Eastern District
225 Cadman Plaza East
Brooklyn, NY 11201

February 14, 2025
Re: Status Report

Haney v. Garcia, et.al. 1:24-cv-06845-FB-TAM

Dear Judge Block:

This office represents plaintiffs Devin Haney and Devin Haney Promotions, Inc. However it
is written on behalf of all parties in compliance with Your Honor’s directive to provide status
reports at 30 day intervals as to the progress toward resolution of this matter.

In sum we are making good progress. Without going into great detail, as to the Garcia
portion of this matter the settlement involves a third party funding a series of boxing events.
Contracts have been circulated and Haney and Mr. Garcia’s promoter, Golden Boy, are working
cooperatively to get those contracts in an appropriate form. Resolving issues between Mr.
Haney and Mr. Garcia will also resolve issues regarding Mr. Honig.

As to Golden Boy, one count involves a request for an audit. That audit has now been
conducted so that is no longer an issue. We anticipate further discussion regarding the
remaining Golden Boy issue.

The parties thank the Court for allowing us time to resolve this matter.
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Patrick C. ena
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Counsel for Devin Haney and Devin Haney Promotions, Inc.

